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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 19-1550V
                                        UNPUBLISHED


    H.F.,                                                    Chief Special Master Corcoran

                         Petitioner,                         Filed: August 26, 2021
    v.
                                                             Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                  Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                          Table Injury; Influenza (Flu) Vaccine;
                                                             Shoulder Injury Related to Vaccine
                        Respondent.                          Administration (SIRVA)


Ronald Craig Homer, Conway, Homer, P.C., Boston, MA, for Petitioner.

Mollie Danielle Gorney, U.S. Department of Justice, Washington, DC, for Respondent.


                                    RULING ON ENTITLEMENT1

        On October 4, 2019, H.F. filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the “Vaccine
Act”). Petitioner alleges that he suffered a shoulder injury related to vaccine administration
(“SIRVA”), which meets the Table definition for SIRVA, or, in the alternative, was caused
by the influenza vaccine he received on October 13, 2016. Petition at 1, ¶¶ 1-3. Petitioner
further alleges that he received the vaccine in the United States and that neither he nor
any other party has filed a civil action or received compensation for his SIRVA.3 Petition

1
  Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
3
  Petitioner did not address the Vaccine Act’s six-month severity requirements, but indicated, in the Petition,
that additional documents and affidavits would be filed. Petition at ¶ 7. A cursory Petition was filed in this
case shortly before the expiration of the Vaccine Act’s statute of limitations. See Section 16(a)(2).
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at ¶¶ 5-6. The case was assigned to the Special Processing Unit of the Office of Special
Masters.

        On August 26, 2021, Respondent filed his Rule 4(c) report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at
1. Specifically, Respondent indicates that he believes “[P]etitioner has satisfied the criteria
set forth in the revised Vaccine Injury Table and the Qualifications and Aids to
Interpretation.” Id. at 9. Respondent further agrees that “based on the case record as it
now stands, [P]etitioner has satisfied all legal prerequisites for compensation under the
Act.” Id. at 10.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                    s/Brian H. Corcoran
                                    Brian H. Corcoran
                                    Chief Special Master




                                              2
